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                       ADDENDUM

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                Government Exhibit 4

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                Government Exhibit 8

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